                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    at CHATTANOOGA

UNITED STATES OF AMERICA                               )
                                                       )       Case No. 1:11-cr-99
v.                                                     )
                                                       )       COLLIER / LEE
JAMES PITNER                                           )

                                             ORDER

        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

(1) grant Defendant’s motion to withdraw his not guilty plea to Count One of the five-count

Indictment; (2) accept Defendant’s plea of guilty to the lesser offense of the charge in Count One

of the Indictment, that is of conspiracy to distribute and possess with the intent to distribute crack

cocaine, heroin, and marijuana in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(B) and

(D); (3) adjudicate Defendant guilty of the lesser offense of the charge in Count One of the

Indictment, that is of conspiracy to distribute and possess with the intent to distribute crack cocaine,

heroin, and marijuana in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(B) and (D); (4)

defer a decision on whether to accept the plea agreement until sentencing; and (5) find defendant

shall remain in custody until sentencing in this matter (Court File No. 51). Neither party filed a

timely objection to the report and recommendation. After reviewing the record, the Court agrees

with the magistrate judge’s report and recommendation. Accordingly, the Court ACCEPTS and

ADOPTS the magistrate judge’s report and recommendation (Court File No. 51) pursuant to 28

U.S.C. § 636(b)(1) and ORDERS as follows:

        (1)     Defendant’s motion to withdraw his not guilty plea to Count One of the Indictment

                is GRANTED;

        (2)     Defendant’s plea of guilty to the lesser offense of the charge in Count One of the




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            Indictment, that is of conspiracy to distribute and possess with the intent to distribute

            crack cocaine, heroin, and marijuana in violation of 21 U.S.C. §§ 846, 841(a)(1), and

            841(b)(1)(B) and (D) is ACCEPTED;

      (3)   Defendant is hereby ADJUDGED guilty of the lesser offense of the charge in Count

            One of the Indictment, that is of conspiracy to distribute and possess with the intent

            to distribute crack cocaine, heroin, and marijuana in violation of 21 U.S.C. §§ 846,

            841(a)(1), and 841(b)(1)(B) and (D) ;

      (4)   A decision on whether to accept the plea agreement is DEFERRED until sentencing;

            and

      (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

            scheduled to take place on Thursday, June 21, 2012 at 2:00 p.m. before the

            Honorable Curtis L. Collier.

      SO ORDERED.

      ENTER:

                                            /s/
                                            CURTIS L. COLLIER
                                            CHIEF UNITED STATES DISTRICT JUDGE




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